         Case 19-22293-RG      Doc 13     Filed 08/21/19 Entered 08/22/19 09:28:47                  Desc Main
                                          Document Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330                                                                             Order Filed on August 21, 2019
FAIRFIELD, NJ 07004-1550                                                                         by Clerk
973-227-2840                                                                             U.S. Bankruptcy Court
                                                                                          District of New Jersey



IN RE:                                                       Case No.: 19-22293RG
 RUTH DECARLO
                                                             Hearing Date: 8/21/2019

                                                             Judge: ROSEMARY GAMBARDELLA




                             INTERIM ORDER ON CONFIRMATION HEARING

   The relief set forth on the following pages, numbered two (2) is hereby ORDERED.




DATED: August 21, 2019
        Case 19-22293-RG           Doc 13      Filed 08/21/19 Entered 08/22/19 09:28:47                  Desc Main
 Debtor(s): RUTH DECARLO                       Document Page 2 of 2

 Case No.: 19-22293RG
 Caption of Order:  INTERIM ORDER ON CONFIRMATION HEARING

       THIS MATTER having been scheduled before the Court on 08/21/2019 for a Hearing on Confirmation, and
good sufficient cause having been shown, it is:


     ORDERED, that the debtor must become current through August and provide proof of homeowner's insurance by
     8/23/2019 or the case will be dismissed with no further hearings or notice to debtor or debtor's attorney ; and it is
     further
     ORDERED, that in the event the Trustee e-payment is reversed, the case will be dismissed with no further hearings
     or notice to debtor or debtor's attorney; and it is further
     ORDERED, that the debtor must provide proof of current income by 9/4/2019 or the case will be dismissed upon
     certification of the Standing Trustee with 14 days notice to debtor(s) and debtor’s attorney; and it is further
     ORDERED, that if satisfied, the Confirmation Hearing will be adjourned to 9/18/2019 at 8:30 a.m.
